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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHEN DISTRICT OF TEXAS
                                AMARILLO DIVISION


  CHILDREN’S HEALTH DEFENSE,                        )
  ROBERT F. KENNEDY, JR., TRIALSITE,                )
  INC., CREATIVE DESTRUCTION                        )
  MEDIA, LLC, ERIN ELIZABETH FINN,                  )
  JIM HOFT, DR. BEN TAPPER, BEN                     )
  SWANN, DR. JOSEPH MERCOLA, TY                     )
  BOLLINGER & CHARLENE                              )
  BOLLINGER,                                        )
                                                    )
                         Plaintiffs,                )    Civil Action No. 2:23-cv-00004-Z
          v.                                        )
                                                    )
  WP COMPANY LLC D/B/A THE                          )
  WASHINGTON POST, THE BRITISH                      )
  BROADCASTING CORP., THE                           )
  ASSOCIATED PRESS, & REUTERS,                      )
                                                    )
                                                    )
                         Defendants.

               THE ASSOCIATED PRESS, REUTERS NEWS & MEDIA INC.,
                 AND WP COMPANY LLC’S MOTION TO TRANSFER
       Pursuant to 28 U.S.C. § 1404, the Associated Press, Reuters News & Media Incorporated,

and WP Company LLC d/b/a The Washington Post (collectively, “Defendants”) request this Court

transfer Plaintiffs’ lawsuit to the United States District Court for the Southern District of New

York or the United States District Court for the District of Columbia.

       A brief in support of this motion, setting forth the argument and authorities upon which

Defendants rely, is filed simultaneously under separate cover pursuant to Local Rule 7.1. The

matters required under Local Rule 7.2 are set forth in the brief.

       WHEREFORE, Defendants respectfully request the Court transfer this case to the United

States District Court for the Southern District of New York or the United States District Court for

the District of Columbia.
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Dated: April 18, 2023                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned Counsel hereby certifies that on the 18th day of April 2023, notice of the
foregoing pleading was provided via the CM/ECF system to the counsel of record. In addition,
notice was provided via email to the following counsel.


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